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Attorneys for Plaintiffs


             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION
NATIVE ECOSYSTEM COUNCIL,
and ALLIANCE FOR THE WILD
ROCKIES,                             CV-18-55-SPW-TJC
         Plaintiffs,
vs.                               MOTION FOR ATTORNEY
                                  FEES AND OTHER EXPENSES
JON RABY, Acting State Director,  UNDER THE EQUAL ACCESS
the BUREAU OF LAND                TO JUSTICE ACT
MANAGEMENT, DEPARTMENT
OF THE INTERIOR, an agency of
the United States.
       Defendants.

      Plaintiffs Native Ecosystem Council and Alliance for the Wild

Rockies files this motion for attorney fees and other costs pursuant to the

Federal Rules of Civil Procedure Rule 54(d) and the Equal Access to Justice



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Act (EAJA) fee provision. 28 U.S.C. §2412. Plaintiffs motion should be

granted because they are the “prevailing party,” the Defendants’ position

was not substantially justified, and no special circumstances exists to make

an award unjust. 28 U.S.C. §2412(d)(1)(A). Additionally, Plaintiffs

requested rates and hours are reasonable.

      Plaintiffs respectfully requests this Court award $126,480.00 in

attorney fees, $578.00 in expert witness fees, and $1,448.01 in taxable and

nontaxable costs. Plaintiffs submit a brief in support of this motion.

      Defendants have been contact regarding this motion and state that

they oppose.

      Dated this 8th day of April, 2019.

                                       /s/Kristine M. Akland
                                       Kristine M. Akland
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                       CERTIFICATE OF SERVICE

The undersigned certifies that Defendants’ counsel, Dean K. Dunsmore, has

filed a notice of appearance in this case and therefore will be served via

ECF.

                                       /s/ Kristine M. Akland
                                       Kristine M. Akland
                                       AKLAND LAW FIRM, PLLC

                                       Attorney for Plaintiffs




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